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     IT IS ORDERED as set forth below:



     Date: November 10, 2022
                                                       ________________________________
                                                                   Paul Baisier
                                                           U.S. Bankruptcy Court Judge

     _______________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                           :           CASE NO. 21-55752-PMB
                                                  :
 NEW VISION REALTY &                              :
 INVESTMENTS, INC.,                               :           CHAPTER 7
                                                  :
          Debtor.                                 :
                                                  :

     AMENDED1 ORDER AUTHORIZING SETTLEMENT UNDER RULE 9019 OF THE
               FEDERAL RULES OF BANKRUPTCY PROCEDURE

          On October 13, 2022, S. Gregory Hays, as Chapter 7 trustee (“Trustee”) for the

 bankruptcy estate (the “Bankruptcy Estate”) of New Vision Realty & Investments, Inc.

 (“Debtor”), filed a Motion for Order Authorizing Settlement under Rule 9019 of the Federal

 Rules of Bankruptcy Procedure [Doc. No. 112] (the “Motion”) and related papers with the

 Court, seeking an order, among other things, approving a settlement agreement (the “Settlement


 1
          This Amended Order is entered to correct a scrivener’s error in the title of the Order
 [Doc. No. 115] (the “First Order”) entered on November 9, 2022. This Amended Order
 shall replace and supplant the First Order in all respects, and the First Order is hereby vacated in
 its entirety.
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 Agreement”) between Trustee and Normandy Capital Trust (“Normandy Capital Trust” and

 with Trustee, the “Parties”) related to the Debtor’s former interest2 in certain improved real

 property with a common address of 2562 Meadow Lark Drive, East Point, Georgia 30344 (the

 “Property”) and the alleged security interest of Normandy Capital Trust in the same. More

 specifically, under the terms of the Settlement Agreement, inter alia,3 within 10 days of the

 Settlement Approval Order4 (i.e., this Order) becoming a final order, Trustee shall pay to

 Normandy Capital Trust $107,000.00 from the Net Sale Proceeds that Trustee received through

 the sale of the Property (the “Settlement Funds”) in one lump sum payment by delivering a

 check to Normandy Capital Trust in the amount of $107,000.00. Furthermore, the Parties

 stipulate and agree that Normandy Capital Trust’s claim [Claim No. 2-2] shall be allowed in the

 amount of $107,000.00 but shall be disallowed as to any amount in excess of $107,000.00.

 Neither Normandy Capital Trust, nor any of its affiliates, agents, principals, or subsidiaries shall

 receive a distribution from the Bankruptcy Estate as an unsecured creditor, except as provided in

 Section 2.2 of the Settlement Agreement. Normandy Capital Trust’s claim, as allowed, shall be

 deemed satisfied upon the Trustee’s payment of the $107,000.00 Settlement Funds in accordance

 with Section 2.2 of the Settlement Agreement. In addition, within ten (10) business days of the



 2
       In June of 2022, following an appropriate order by the Court, Trustee sold the Property
 and netted the Bankruptcy Estate approximately $270,000.00 from the sale (the “Net Sale
 Proceeds”). See [Doc. No. 106].
 3
        The following is a summary of the Settlement Agreement and is not intended to be
 comprehensive. To the extent that anything in this summary is contrary to the terms of the
 Settlement Agreement, the Settlement Agreement controls.
 4
         Capitalized terms not defined in this Order shall have the meanings ascribed to them in
 the Settlement Agreement.
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 later of: (a) the Settlement Approval Order becoming a final order, or (b) Trustee’s paying the

 Settlement Funds to Normandy Capital Trust, Trustee and Normandy Capital Trust shall file a

 stipulation dismissing with prejudice the adversary proceeding styled as Hays v. Normandy

 Capital Trust (Adv. Pro. No. 21-5101-PMB). Finally, the Parties grant broad and general

 releases to one another. The exact terms of the Settlement Agreement are set forth on Exhibit

 “A” to the Motion.

        Also on October 13, 2022, Trustee filed a Notice of Motion for Order Authorizing

 Settlement under Rule 9019 of the Federal Rules of Bankruptcy Procedure; Deadline to Object;

 and for Hearing [Doc. No. 113] (the “Notice”) regarding the Motion, in accordance with the

 Second Amended and Restated General Order No. 24-2018, and setting a hearing on the Motion

 for November 29, 2022 (the “Hearing”). Counsel for Trustee certifies that he served the Notice

 on all requisite parties in interest on October 13, 2022. [Doc. No. 114].

        No objection to the relief requested in the Motion was filed prior to the objection

 deadline provided in the Notice and pursuant to the Second Amended and Restated General

 Order No. 24-2018.

        The Court having considered the Motion and all other matters of record, including the

 lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

 further notice or hearing is necessary; and, the Court having found that good cause exists to grant

 the relief requested in the Motion, it is hereby

        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

 its terms are incorporated into this Order. It is further

        ORDERED that Trustee may take any other actions necessary to satisfy the terms of the
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 Settlement Agreement, including, without limitation, paying the $107,000.00 Settlement Funds

 to Normandy Capital Trust from the Net Sale Proceeds in accordance with Section 2.2 of the

 Settlement Agreement. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

 this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

 enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

 or implementation of this Order.

                                       [END OF DOCUMENT]

 Order prepared and presented by:

 ROUNTREE LEITMAN KLEIN & GEER LLC
 Attorneys for Trustee

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 Identification of entities to be served:

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